             Exhibit C
Plaintiff's Answers to Requests
 for Admission in State Court
 STATE OF SOUTH CAROLINA                              IN THE COURT OF COMMON PLEAS
 COUNTY OF CHARLESTON                                 NINTH JUDICIAL CIRCUIT




                                                             Civil Action No. 2023-CP-10-1185
Jay Connor,
                                                             PLAINTIFF’S ANSWER TO
              Plaintiff,                                    DEFENDANTS’ REQUEST FOR
                                                                  ADMISSIONS
                           Vs.

Servicequik Inc. d/b/a Zing Business Management
Software, Sally Alfeld Individually, and John Does
1-10
               Defendants.
_________________________________________


 Pursuant to Rule 36 of the South Carolina Rules of Civil procedure, Plaintiff hereby responds to

 Defendants Requests for Admissions:

     1. Admit that you have multiple phone numbers.

         Answer: Admit

     2. Admit that 843-557-5724 is one of your phone numbers.

         Answer: Admit

     3. Admit that the 843-281-4444 is not your only phone number.

         Answer: Admit

     4. Admit that you, prior to receiving the message referenced in your complaint, knew that

         the phone number 843-281-4444 was listed on Google for a business called Arbor Craft

         Builders.

         Answer: I admit that I remember seeing it listed incorrectly as a number for Arbor

         Craft in 2022, but I deny knowing the status of the listing the entire two years

         because I didn’t check it regularly after that.

     5. Admit that you have initiated, over the course of the past ten years, over ten separate


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   lawsuits alleging violations of the South Carolina Telephone Privacy Protection Act.

   Answer: Admit

6. Admit that you have never initiated a lawsuit to remove your phone number from Google

   Business.

   Answer: Admit

7. Admit that you, prior to May 20th, 2024, never contacted Arbor Craft Builders to alert

   them to your phone number being listed as their business line on Google.

   Answer: I admit I never spoke with anyone at Arbor Craft, but I recall calling a

   different number listed somewhere as the Arbor Craft number, and no one

   answered the call, and the greeting on the voicemail identified a different company

   name.

8. Admit that you have never mentioned in any of your lawsuits that the phone number

   843- 281-4444 is listed on Google Business.

   Answer: Admit

9. Admit that the message referenced in your complaint is directed at a business, not a

   private individual’s private phone number.

   Answer: I admit that the message refers to the company name Arbor Craft.

10. Admit that you have intentionally left your phone number listed as a business number on

   Google so that you can allege claims under the South Carolina Telephone Privacy

   Protection Act.

   Answer: Deny

11. Admit that you, after receiving the text message that is the subject of this suit, responded

   to the message asking for more information.

   Answer: Admit




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Respectfully Submitted,



_____________________
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